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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MARYLAND

UNITED STATES OF AMERICA, ex rel. )               Case No. 1:14-cv-02535-ELH
DEBORAH SHELDON, as EXECUTRIX )
OF THE ESTATE OF RELATOR TROY )                   (Judge Ellen L. Hollander)
SHELDON,                          )
                                  )               PLAINTIFF’S MEMORANDUM IN
                 Plaintiff,       )               SUPPORT OF MOTION TO REQUEST
                                  )               A STATUS CONFERENCE AND A
-v-                               )               SCHEDULING ORDER TO
                                  )               COMMENCE DISCOVERY
ALLERGAN SALES, LLC               )
                                  )
                 Defendant        )
                                  )

       This case was recently remanded from the United States Supreme Court and the Fourth

Circuit Court of Appeals [Dkt. 99, 100 and 101]. Ms. Sheldon now seeks a status conference and

a scheduling order to commence discovery in this Court.

       Mr. Troy Sheldon filed this complaint under the False Claims Act (“FCA”) in 2014 [Dkt.

1 (Complaint); Dkt. 16 (Amended Complaint)].          Mr. Sheldon’s wife, Deb Sheldon, as the

Executrix of the Estate of Troy Sheldon, was substituted as plaintiff when Mr. Sheldon died [Dkt.

31]. After the case was unsealed, the Court granted Defendant’s Rule 12(b)(6) motion to dismiss

and entered judgment for Defendant [Dkt. 86, 87] before discovery was allowed to proceed.

       Ms. Sheldon appealed the Court’s opinion and judgment. A Panel of the Fourth Circuit

subsequently affirmed the district court’s decision in a 2-1 decision. United States ex rel. Sheldon

v. Allergan Sales, LLC, 24 F.4th 340 (4th Cir. 2022). Ms. Sheldon petitioned the Fourth Circuit for

en banc review, and the Fourth Circuit granted a rehearing en banc. After oral argument, the en

banc court did not come to consensus on any issue, with an equal number of votes to reverse and

affirm the district court’s decision. As a result, “[o]n rehearing en banc, the panel opinions in

United States ex rel. Sheldon v. Allergan Sales, LLC, 24 F.4th 340 (4th Cir. 2022) are vacated, and
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the judgment of the district court is affirmed by an equally divided court. United States ex rel.

Sheldon v. Allergan Sales, LLC, 49 F. 4th 873 (en banc).

       Ms. Sheldon filed a petition for a writ of certiorari with the United States Supreme Court

requesting that the Supreme Court reverse this Court’s Rule 12(b)(6) opinion and judgment. On

June 30, 2023, the Supreme Court granted Ms. Sheldon’s petition for writ of certiorari, vacated

this Court’s opinion and judgment, and remanded this case for further consideration in light of the

Supreme Court’s Schutte decision [Dkt. 99].1

       On August 2, 2023, the Fourth Circuit remanded the case to this Court for further

consideration in light of the Supreme Court’s decision in Schutte – with no further action or

briefing in the Fourth Circuit [Dkt. 100, 101].

       The Supreme Court in Schutte made clear that in a False Claims Act case, the focus is on

the defendant’s subjective intent at the time the claims were made, not what an objectively

reasonable person may or may not believe or interpret at a later time.

               Based on the FCA’s statutory test and its common-law roots, the answer to
       the question presented is straightforward; The FCA’s scienter element refers to
       respondents’ knowledge and subjective beliefs – not to what an objective
       reasonable person may have known or believed. And, even though the phrase
       “usual and customary” may be ambiguous on its face, such facial ambiguity
       alone is not sufficient to preclude a finding that respondents knew their claims
       were false.


                                                  ***

             Under the FCA, petitioner may establish scienter by showing that
       respondents (1) actually knew that their reported prices were not their “usual
       and customary” prices when they reported those prices; (2) were aware of a
       substantial risk that their higher, retail prices were not their “usual and
       customary” prices and intentionally avoided learning whether their reports

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 On June 1, 2023, the Supreme Court decided United States ex rel. Schutte v. Supervalu, Inc., 598
U.S. ___, 143 S. Ct. 1391 (2023).

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       were accurate, or (3) were aware of such a substantial and unjustifiable risk
       but submitted claims anyway. §3729.(b)(1)(A). If petitioners can make that
       showing, then it does not matter whether some other, objectively reasonable
       interpretation of “usual and customary” would point to respondents’ higher prices.
       For scienter, if it is enough if respondents believed that their claims were not
       accurate.

Schutte, 598 U.S. at ___, 143 S. Ct. at 1399, 1404 (emphasis added). A FCA plaintiff can prove

scienter even if the underlying statute is ambiguous or subject to more than one interpretation –

the focus of the inquiry is the defendant’s knowledge and subjective intent. The Supreme Court’s

Schutte decision makes clear that scienter is a factual inquiry and a factual showing.

       In this case, Ms. Sheldon alleges in her Complaint that Defendant violated the False Claims

Act by failing to properly report its Best Price to the federal government on multiple drug units for

extended periods of time, overcharging Medicare and Medicaid for over $680 million. Ms.

Sheldon alleges that Defendant failed to include all rebates and discounts when it reported the drug

unit’s Best Price. Similar to the Schutte case, Ms. Sheldon alleges that Defendant had scienter and

knew that the claims were false at the time the claims were made [ECF 8 at pp. 1-10 and ¶¶51, 54,

56, 64, 72 and 119-20; see also ¶¶29-71 and ¶¶72-118]. Similar to the Schutte case, even if the

Best Price statute is ambiguous (and Plaintiff does not agree that the statute is ambiguous), “such

facial ambiguity alone is not sufficient to preclude a finding that respondents knew their claims

were false.” Id. at 1399. Ms. Sheldon is entitled to conduct fact discovery to further support her

allegations to determine what Defendant knew and believed – to determine Defendant’s

knowledge and subjective beliefs at the time the claims were made (and to conduct discovery on

other aspects of the case in addition to scienter). Defendant may file a motion for summary

judgment at the conclusion of discovery on the issue of scienter and on other grounds, but Sheldon

should be allowed to pursue discovery on her claims at this time.



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       For the foregoing reasons, Ms. Sheldon respectfully requests that the Court schedule a

status conference and issue a scheduling order allowing the parties to commence discovery. Ms.

Sheldon believes that fact discovery could be completed in 10-12 months with 3 months of expert

discovery to follow.2


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 Ms. Sheldon also brings to the Court’s attention that CMS announced a proposed rule on May
26, 2023 that explicitly reaffirmed its interpretation of the Best Price statute and explicitly
addressed this litigation.

       I.     D. Proposal To Account for Stacking When Determining Best Price—
       (§ 447.505)

       Section 1927(c)(1)(C) of the Act defines the term “best price” to mean with respect
       to a single source drug or innovator multiple source drug of a manufacturer
       (including the lowest price available to any entity for any such drug of a
       manufacturer that is sold under a new drug application approved under section
       505(c) of the Federal Food, Drug, and Cosmetic Act), the lowest price available
       from the manufacturer during the rebate period to any wholesaler, retailer, provider,
       health maintenance organization, nonprofit entity, or governmental entity within
       the United States, subject to certain exceptions and special rules. The implementing
       regulations for the determination of best price are at § 447.505.

                                              ***

       We addressed the question regarding stacking in the response to comments in
       the COD final rule, specifying that if multiple price concessions are provided
       to two entities for the same drug transaction, all discounts related to that
       transaction which adjust the price available from the manufacturer should be
       considered when determining best price….

       However, in the case United States ex rel. Sheldon v. Allergan Sales, LLC., a relator
       alleged that a drug manufacturer failed to aggregate discounts provided to separate
       customers for purposes of determining best price, and the manufacturer argued that
       the stacking requirement was not sufficiently clear. The district court granted
       Allergan's motion to dismiss, ruling that relator failed to plausibly allege either
       falsity or knowledge because Allergan's interpretation “is objectively reasonable”
       and CMS' rule had not specifically warned against it. On appeal, a panel of the
       United States Court of Appeals for the Fourth Circuit stated that, in that case, the
       drug manufacturer had not been “warned . . . by the authoritative guidance from
       CMS” and that CMS had “failed to clarify” the stacking issue. The Government
       filed an amicus brief supporting the relator's petition for rehearing en banc, which
       the Fourth Circuit granted. Following argument, the Fourth Circuit issued its
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       decision with no substantive opinion that vacated the prior panel decision and
       affirmed the district court by an equally divided court.

       As noted, section 1927(c)(1)(C) of the Act defines the term “best price” to mean
       with respect to a single source drug or innovator multiple source drug of a
       manufacturer (including the lowest price available to any entity for any such drug
       of a manufacturer that is sold under a new drug application approved under section
       505(c) of the Federal Food, Drug, and Cosmetic Act), the lowest price available
       from the manufacturer during the rebate period to any wholesaler, retailer, provider,
       health maintenance organization, nonprofit entity, or governmental entity within
       the United States. We interpreted this section expansively as the statute refers to a
       manufacturer's lowest price “available” “to any” entity on this statutory list. That
       is, if a manufacturer provides a discount to a wholesaler, then a rebate to the
       provider who dispensed the drug unit, and then another rebate to the insurer who
       covered that drug unit, CMS has concluded that “best price” must include (or
       “stack”) all the discounts and rebates associated with the final price, even if the
       entity did not buy the drug directly from the manufacturer. By stacking, best price
       reflects the lowest realized price at which the manufacturer made that drug unit
       available. We also note that manufacturers are required to take rebates into account
       for multiple entities when calculating AMP, and for logical reasons, best price
       should do so as well, since including them in AMP and not accounting for them in
       best price could result in AMP being lower than best price.

       Therefore, to remove any potential doubt prospectively, we are proposing to
       revise § 447.505(d)(3) to add to the existing regulatory statement that the
       manufacturer must adjust the best price for a covered outpatient drug for a
       rebate period if cumulative discounts, rebates or other arrangements to best
       price eligible entities subsequently adjust the price available from the
       manufacturer for the drug. We are adding the clarifying statement that
       cumulative discounts, rebates or other arrangements must be stacked to
       generate a final price realized by the manufacturer for a covered outpatient
       drug, including discounts, rebates or other arrangements provided to different
       best price eligible entities.

https://www.federalregister.gov/documents/2023/05/26/2023-10934/medicaid-program-
misclassification-of-drugs-program-administration-and-program-integrity-updates (emphasis
added).


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August 10, 2023                              Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was electronically filed using the Court’s ECF

system on this August 10, 2023. Parties will receive notice through the ECF system.


                                                     /s/ Joel D. Hesch
                                                     Joel D. Hesch




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